              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
               CIVIL CASE NO. 1:18-cv-00007-MR-DLH


TERI LYNN HINKLE,               )
                                )
                    Plaintiff,  )
                                )
     vs.                        )             ORDER
                                )
EXPERIAN INFORMATION            )
SOLUTIONS, INC., et al.,        )
                                )
                    Defendants. )
_______________________________ )

      THIS MATTER is before the Court on the joint Motion to Dismiss filed

by Defendants Equifax, Inc. and Equifax Information Services, LLC [Doc. 43]

and the Magistrate Judge’s Memorandum and Recommendation [Doc. 56]

regarding the disposition of that motion.

      Pursuant to 28 U.S.C. § 636(b) and the standing Orders of Designation

of this Court, the Honorable Dennis L. Howell, United States Magistrate

Judge, was designated to consider the Defendants’ motion and to submit a

recommendation for its disposition.

      On September 5, 2018, the Magistrate Judge filed a Memorandum and

Recommendation in this case containing conclusions of law in support of a

recommendation regarding the Defendants’ motion. [Doc. 56]. The parties




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were advised that any objections to the Magistrate Judge’s Memorandum

and Recommendation were to be filed in writing within fourteen (14) days of

service. The period within which to file objections has now expired, and no

written objections to the Memorandum and Recommendation have been

filed.

         After a careful review of the Magistrate Judge’s Recommendation, the

Court finds that the proposed conclusions of law are consistent with current

case law. Accordingly, the Court hereby accepts the Magistrate Judge’s

recommendation that the Defendants’ Motion to Dismiss should be denied.

         IT IS, THEREFORE, ORDERED that the Memorandum and

Recommendation [Doc. 56] is ACCEPTED, and the joint Motion to Dismiss

filed by Defendants Equifax, Inc. and Equifax Information Services, LLC

[Doc. 43] is DENIED.

         IT IS SO ORDERED.
                                    Signed: September 25, 2018




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